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                                         UNITED STATES BANKRUPTCY COURT
                                           MIDDLE DISTRICT OF FLORIDA
                                                 ORLANDO DIVISION
                                                 www.flmb.uscourts.gov

In re
CARMEN L. REYES                                                              Case No: 6:22-bk-01606-TPG
                                                                             Chapter 13


                                                         Debtor /

                                          Notice of Chapter 13 Confirmation Hearing

PLEASE TAKE NOTICE that the Debtor filed a Chapter 13 Plan or Amended Chapter 13 Plan , a copy of which has
previously been served upon you.

Creditors are advised that the payment amounts and frequency of payments as described in the Debtor's plan will become
effective upon confirmation of the plan unless the affected creditor files an objection to the confirmation within 21 days from
the date of this notice. Such objection must be filed with the Clerk , United States Bankruptcy Court, 400 West Washington
Street, Suite 5100, Orlando, FL 32801.

NOTICE IS FURTHER GIVEN that a confirmation hearing will be held on 10/04/2022 at 10:15 AM in Courtroom 6A ,
6th Floor, George C. Young Courthouse, 400 W. Washington Street, Orlando, FL 32801.

All parties may attend the hearing in person . Parties are directed to consult the Procedures Governing Court Appearances
regarding the Court's policies and procedures for attendance at hearings by Zoom or telephone available at (Procedures
Governing Court Appearances — Orlando). If the Court permits appearances by Zoom, the Court will enter a separate Order
Establishing Procedures for Video Hearing shortly before the hearing . Parties permitted to appear by telephone must arrange
a telephonic appearance through Court Solutions (www.court-solutions.com) no later than 5:00 p.m. the business day
preceding the hearing. NOTE: All parties should proceed to the website and select 'Sign Up' . For unrepresented parties only,
before submitting the completed form, you must select 'I am not an attorney' and 'Certified Indigent' . Once the information is
submitted you will receive an email with further instructions .

At the confirmation hearing, the Court will hear and determine any objections to confirmation filed by any affected creditor .
The Court will also hear and determine each motion , objection, and other matter filed by any party in interest that is
then pending and requires determination, provided that the motion, objection, or other matter was filed and served a
period of time before the confirmation hearing no less than that required by the Federal Rules of Bankruptcy Procedure for
notice of hearing of such a matter. The Court deems that the Debtor objects on the grounds of timeliness to all proofs of
claim and amendments to proofs of claim filed by any creditor after the bar date for filing claims . If confirmation is denied,
the Court may also consider dismissal or conversion .

Appropriate Attire. You are reminded that Local Rule 5072-(b ) (16) requires that all persons appearing in Court should dress
in business attire consistent with their financial abilitites . Shorts, sandals, shirts without collars, including tee shirts and tank
tops, are not acceptable.

Avoid delays at Courthouse security checkpoints . You are reminded that Local Rule 5073-1 restricts the entry of cellular
telephones and computers into the Courthouse absent a specific order of authorization issued beforehand by the presiding
judge. Please take notice that as an additional security measure a photo ID is required for entry into the Courthouse .

Filed and served on the Court's official mailing matrix this 25th day of August , 2022.

                                                                                 /S/ LAURIE K. WEATHERFORD
                                                                                 Chapter 13 Trustee
                                                                                 Stuart Ferderer, FBN 0746967
                                                                                 Ana DeVilliers, FBN 0123201
                                                                                 PO Box 3450
                                                                                 Winter Park, FL 32790
                                                                                 Telephone: 407-648-8841
                                                                                 Facsimile: 407-648-2665
                                                                                 info@c13orl.com
                                 Case 6:22-bk-01606-TPG             Doc 28          Filed 08/25/22      Page 2 of 3
Label Matrix for local noticing                      Ally Financial, c/o AIS Portfolio Services,          Carmen Lydia Reyes
113A-6                                               4515 N Santa Fe Ave. Dept. APS                       1883 Sarno Access Road
Case 6:22-bk-01606-TPG                               Oklahoma City, OK 73118-7901                         Melbourne, FL 32935-3985
Middle District of Florida
Orlando
Thu Aug 25 12:39:30 EDT 2022
Ally Financial                                       Ally Financial c/o AIS Portfolio Services, L         Brevard County Tax Collector
c/o AIS Portfolio Services L                         4515 N. Santa Fe Ave. Dept. APS                      Attn: Honorable Lisa Cullen, CFC
4515 N. Santa Fe Ave Dept AP                         Oklahoma City, OK 73118-7901                         Post Office Box 2500
Oklahoma City, OK 73118-7901                                                                              Titusville FL 32781-2500


(p)AUDREY MCGILL                                     Florida Department of Revenue                        Internal Revenue Service
CREDITONE LLC                                        Bankruptcy Unit                                      Post Office Box 7346
P O BOX 625                                          Post Office Box 6668                                 Philadelphia PA 19101-7346
METAIRIE LA 70004-0625                               Tallahassee FL 32314-6668


J.P. Morgan Chase                                    JP Morgan Chase N.A,                                 (p)JPMORGAN CHASE BANK N A
Nelson Mullins Riley &                               c/o Nelson Mullins Riley &                           BANKRUPTCY MAIL INTAKE TEAM
Scarborough LLP                                      Scarborough LLP                                      700 KANSAS LANE FLOOR 01
100 SE 3rd Ave Ste 2700                              100 SE 3rd Ave Ste 2700                              MONROE LA 71203-4774
Fort Lauderdale, FL 33394-0017                       Fort Lauderdale, FL 33394-0017

LVNV Funding                                         LVNV Funding, LLC -                                  Plaza Services, LLC -
PO Box 10587                                         Resurgent Capital Services                           PO BOX 1931
Greenville, SC 29603-0587                            PO Box 10587                                         Burlingame, CA 94011-1931
                                                     Greenville, SC 29603-0587


Richard Vaughn                                       US Department of Education -                         Laurie K Weatherford +
PO Box 360625                                        P O Box 16448                                        Post Office Box 3450
Melbourne, FL 32936-0625                             St Paul, MN 55116-0448                               Winter Park, FL 32790-3450



Linda Lee Wynn +                                     United States Trustee - ORL7/13 7 +                  Nancy E Brandt +
Law Offices of Linda Lee Wynn, P.A.                  Office of the United States Trustee                  Bogin Munns & Munns
PO Box 48856                                         George C Young Federal Building                      1000 Legion Place, Suite 1000
Tampa, FL 33646-0124                                 400 West Washington Street, Suite 1100               Orlando, FL 32801-1025
                                                     Orlando, FL 32801-2210

Reka Beane +                                         Tiffany P. Geyer +
McCalla Raymer Leibert Pierce, LLC                   Orlando
110 S.E. 6th Street, Suite 2400                      400 West Washington Street
Fort Lauderdale, FL 33301-5056                       Room 6100
                                                     Orlando, FL 32801-2207



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


CREDITONE, LLC -                                     JPMorgan Chase Bank, National Association -
P.O. BOX 625                                         Chase Records Center, At: Correspondence
METAIRIE, LA 70004-0625                              Mail Code LA4-5555
                                                     700 Kansas Lane
                                                     Monroe, LA 71203
                              Case 6:22-bk-01606-TPG               Doc 28       Filed 08/25/22         Page 3 of 3


                The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)JPMorgan Chase Bank, National Association        (u)Note: Entries with a ’+’ at the end of the        End of Label Matrix
                                                    name have an email address on file in CMECF          Mailable recipients   22
                                                    -------------------------------------------          Bypassed recipients    2
                                                    Note: Entries with a ’-’ at the end of the           Total                 24
                                                    name have filed a claim in this case
